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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA
                        BRUNSWICK DIVISION

SHEILA B. CARTER,                 )
                                  )
Individually and as Executrix of the         CIVIL ACTION FILE
                                  )
Estate of James R. Carter, Decedent,         NO. 2:18-cv-100
                                  )
                       Plaintiff, )
                                  )
v.                                )
                                  )
3M f/k/a MINNESOTA MINING &       )
MANUFACTURING COMPANY, et )
al.,                              )
                                  )
                     Defendants.



    STIPULATION OF DISMISSAL WITH PREJUDICE OF CLAIMS
   AGAINST DEFENDANT GENERAL ELECTRIC COMPANY ONLY

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Sheila

B. Carter, Individually and as Executrix of the Estate of James R. Carter, Decedent

and Defendant General Electric Company hereby stipulate and agree to the voluntary

dismissal WITH PREJUDICE of any and all claims, counts, and causes of action

asserted by Plaintiff against Defendant General Electric Company ONLY in the

above-styled action. Each party shall bear its own fees, costs, and expenses as it
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pertains to the dismissal.   The Stipulation is agreed to by all parties who have

appeared and remain in the case.

      Respectfully submitted this 6th day of May 2019.


STIPULATED TO:

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                IN THE UNITED STATES DISTRICT COURT
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SHEILA B. CARTER,                 )
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Individually and as Executrix of the          CIVIL ACTION FILE
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                       Plaintiff, )
                                  )
v.                                )
                                  )
3M f/k/a MINNESOTA MINING &       )
MANUFACTURING COMPANY, et )
al.,                              )
                                  )
                     Defendants.


                             CERTIFICATE OF SERVICE

      I hereby certify that I have this date served a copy of the foregoing

STIPULATION OF DISMISSAL WITH PREJUDICE AS TO DEFENDANT

GENERAL ELECTRIC COMPANY ONLY upon Plaintiffs’ counsel listed below

and upon all known defense counsel via electronic mail and electronic filing via the

Court’s Electronic Case File (ECF) System:




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